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Deloitte Financial Advisory Services LLP
555 12th Street NW Ste 400
Washington, DC 20004-1207
Telephone: 202.220.2120
Facsimile: 855.405.2590
Steven Stanton

Financial Advisory Services Provider

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- |
In re:                                                          |
                                                                | Chapter 11
WESTINGHOUSE ELECTRIC COMPANY                                   |
LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                  Debtors.                      |
                                                                | (Jointly Administered)
--------------------------------------------------------------- |

      SECOND MONTHLY FEE STATEMENT OF DELOITTE FINANCIAL ADVISORY
           SERVICES LLP FOR COMPENSATION FOR SERVICES RENDERED
      AND REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL ADVISORY
             SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                    FROM JULY 1, 2017 THROUGH JULY 31, 2017
Name of Applicant:                                                        Deloitte Financial Advisory Services LLP
Authorized to Provide Services as:                                        Financial Advisory Services Provider
Date of Retention:                                                        Nunc Pro Tunc to March 29, 2017
Period for which Compensation and                                          July 1, 2017 through July 31, 2017
Reimbursement is Sought:
Amount of Compensation Sought as                                                                                $74,648.65
Actual, Reasonable, and Necessary (100%):
Amount of Expense Reimbursement Sought:                                                                           $4,216.55
Total Amount of Fees and Expense Reimbursement
Sought as Actual, Reasonable and Necessary (100%):                                                              $78,865.20

Less 20% Holdback:                                                                                            ($14,929.73)
Total Fees and Expenses Due:                                                                                    $63,935.47

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are:
Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field
Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586),
PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc.
(1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions,
Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy
Systems LLC (0328), Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology
LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000
Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                             CUMULATIVE TIME SUMMARY
                      For the Period of July 1, 2017 through July 31, 2017

                                                      Total       Hourly
   Name                       Position                                       Total Fees
                                                      Hours        Rate
   Minars, Scott              Partner/Principal        23.30         $592     $13,793.60
   Sturiale, Lisa             Partner/Principal         2.30         $592      $1,361.60
   Cohen, Mark                Managing Director        13.60         $592      $8,051.20
   Cohen, Mark - Travel       Managing Director         8.00         $296      $2,368.00
   Donohue, Alycia            Managing Director         1.00         $592        $592.00
   Stanton, Steven            Managing Director        17.70         $592     $10,478.40
   Larson, Jen                Sr. Manager               1.90         $513        $974.70
   Stafford, Ted              Sr. Manager              14.10         $513      $7,233.30
   Stafford, Ted - Travel     Sr. Manager              12.50         $257      $3,206.25
   Strahle, Robert            Sr. Manager               6.00         $513      $3,078.00
   McGonigle, David           Manager                  34.20         $473     $16,176.60
   Cooper, Carla              Senior Consultant        16.10         $350      $5,635.00
   Letts, Joshua              Senior Consultant         4.10         $340      $1,394.00
   Hommen, Kelly              Consultant                0.90         $340       $306.00
   Total Fees                                         155.70                 $74,648.65




                   CUMULATIVE FEES BY CATEGORY SUMMARY
                    For the Period of July 1, 2017 through July 31, 2017

   Project Categories                                  Total Hours             Total Fees
   Accounting Consultative Services                           23.10           $12,044.90
   Dispute Consulting                                         12.40            $7,340.80
   Litigation                                                 68.00           $36,674.90
   Non-Working Travel                                         20.50            $5,574.25
   Preparation of Fee Applications                            31.70           $13,013.80
   Total Fees                                                  155.70         $74,648.65

   Average Billing Rate: $479.44




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                          CUMULATIVE EXPENSE SUMMARY
                     For the Period of July 1, 2017 through July 31, 2017

    Description                                                               Amount

    Airfare                                                                  $2,540.45
    Ground Transportation                                                     $881.67
    Hotel                                                                     $471.62
    Meals                                                                     $319.79
    Telephone, Conference                                                       $3.02

    Grand Total                                                              $4,216.55




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                      July 01, 2017 - July 31, 2017

Date                        Description                                   Rate    Hours      Fees

Accounting Consultative Services
07/14/2017
   Minars, Scott            Review and assess draft materials for       $592.00     0.9    $532.80
                            meeting with WEC BOD and Foley
                            regarding ongoing post-closing dispute
                            scheduled for Monday July 17, 2017
07/22/2017
   Donohue, Alycia          Meeting with S. Minars (Deloitte) to        $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
   Minars, Scott            Meeting with A. Donohue (Deloitte) to       $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
07/25/2017
   McGonigle, David         Reviewed updated cost estimates             $473.00     2.0    $946.00
                            provided for the Vogtle and VC
                            Summer nuclear construction projects.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.4    $189.20
                            discuss the update to ASC740 memo.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.5    $236.50
                            discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.5    $296.00
                            to discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.4    $236.80
                            to discuss the update to ASC740
                            memo.
07/26/2017
   McGonigle, David         Meeting with S. Minars and E. Tzavelis      $473.00     0.2     $94.60
                            (Deloitte) to discuss the accounting for
                            the post-petition deferred tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale      $473.00     0.4    $189.20
                            (Deloitte) to discuss the accounting for
                            the post-petition deffered tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.

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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                    Fees Sorted by Category for the Fee Period
                                     July 01, 2017 - July 31, 2017
Date                        Description                                 Rate    Hours       Fees

Accounting Consultative Services
07/26/2017
   McGonigle, David         Updated ASC 740 memo for project          $473.00     2.0    $946.00
                            activity
   Minars, Scott            Meeting with L. Sturiale and D.           $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Minars, Scott            Meeting with E. Tzavelis and D.           $592.00     0.2    $118.40
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Sturiale, Lisa           Meeting with S. Minars and D.             $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
07/27/2017
   McGonigle, David         Updated schedules related to tax          $473.00     3.0   $1,419.00
                            memo prepared for WEC based on
                            post-bankruptcy discussions with S.
                            Minars (DT) and WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale    $473.00     0.5    $236.50
                            (Deloitte) to discuss bankruptcy impact
                            of tax balances for the ASC 740
                            memorandum.
   McGonigle, David         Reviewed ranges of liability in expert    $473.00     0.6    $283.80
                            report related to ongoing post-closing
                            dispute for impact on tax memo being
                            prepared for WEC.
   McGonigle, David         Meeting with K. Brady, W. Heinricher      $473.00     0.5    $236.50
                            (WEC) and L. Sturiale (Deloitte) to
                            discuss accounting for the ASC 740
                            memorandum.
   McGonigle, David         Meeting with S. Minars, L. Sturiale and   $473.00     0.4    $189.20
                            T. Sasso (Deloitte) to discuss
                            bankruptcy impact of tax balances for
                            the ASC 740 memorandum.
   McGonigle, David         Reviewed project accounting material      $473.00     0.3    $141.90
                            to prepare for call with K Brady and W
                            Heinricher (WEC) regarding same

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                    Fees Sorted by Category for the Fee Period
                                        July 01, 2017 - July 31, 2017
Date                          Description                                 Rate    Hours        Fees

Accounting Consultative Services
07/27/2017
   Minars, Scott              Meeting with L. Sturiale, T. Sasso and    $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Minars, Scott              Meeting with L. Sturiale and D.           $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with S. Minars, T. Sasso and      $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with K. Brady, W. Heinricher      $592.00     0.5     $296.00
                              (WEC) and D. McGonigle (Deloitte) to
                              discuss accounting for the ASC 740
                              memorandum.
   Sturiale, Lisa             Meeting with S. Minars and D.             $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
07/28/2017
   McGonigle, David           Updated ASC 740 Memo based on S.          $473.00     2.9    $1,371.70
                              Minar's (Deloitte) notes
   Minars, Scott              Review of ASC740 memorandum draft         $592.00     1.8    $1,065.60
                              and the supporting information
                              provided by WEC
07/31/2017
   Sturiale, Lisa             Review tax accounting memo for Loss       $592.00     0.5     $296.00
                              contingency and send document to K.
                              Brady (WEC)
   Subtotal for Accounting Consultative Services:                                  23.1   $12,044.90

Dispute Consulting
07/01/2017
   Stanton, Steven            Reviewed case document related to         $592.00     1.9    $1,124.80
                              ongoing legal proceedings in Delaware
                              courts related to post-acquisiton
                              dispute


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                          Westinghouse Electric Company
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                 Fees Sorted by Category for the Fee Period
                                        July 01, 2017 - July 31, 2017
Date                           Description                                 Rate    Hours       Fees

Dispute Consulting
07/01/2017
   Stanton, Steven             Continued to review case document         $592.00     2.1   $1,243.20
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/02/2017
   Stanton, Steven             Reviewed case document related to         $592.00     3.0   $1,776.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/06/2017
   Stanton, Steven             Continued to review case document         $592.00     2.8   $1,657.60
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/13/2017
   Cohen, Mark                 Review of presentation deck provided      $592.00     0.8    $473.60
                               by D. Heffer (Foley) in preparation for
                               meeting with WEC Board and Foley
                               regarding post-acquisition dispute.
   Stanton, Steven             Reviewed presentation materials           $592.00     1.2    $710.40
                               regarding ongoing post-closig dispute
                               provided by D. Heffer (Foley) ahead of
                               Meeting with WEC Board and Foley.
07/14/2017
   Stanton, Steven             Reviewed Case Document related to         $592.00     0.5    $296.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/21/2017
   Stanton, Steven             Reviewed proposed court order related     $592.00     0.9    $532.80
                               to ongoing post-acquisition dispute in
                               Delaware supreme court
   Subtotal for Dispute Consulting:                                                 13.2   $7,814.40




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                        Westinghouse Electric Company
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                   Fees Sorted by Category for the Fee Period
                                    July 01, 2017 - July 31, 2017
Date                       Description                                Rate    Hours       Fees

Litigation
07/05/2017
   Cohen, Mark             Call with R. Mercado (Marcum) to         $592.00     0.2    $118.40
                           discuss review of Delaware Supreme
                           court decision regarding post-
                           acquisition dispute and items for
                           consideration by Independent Auditor
                           ("IA")
   Cohen, Mark             Call with R. Strahle (Deloitte) to       $592.00     0.8    $473.60
                           discuss Delaware court decision and
                           items for consideration by Independent
                           Auditor ("IA") in preparation for
                           meeting with Foley
   Minars, Scott           Preparation for meeting with WEC         $592.00     2.7   $1,598.40
                           board and Foley regarding IA process
                           going forward
07/06/2017
   Minars, Scott           Continued preparation for meeting with   $592.00     1.3    $769.60
                           WEC board and Foley regarding IA
                           process going forward
   Minars, Scott           Meeting with P. Wang, D Heffer           $592.00     3.2   $1,894.40
                           (Foley), R. Swanson, T. Baird (WEC)
                           T. Stafford, R. Strahle and S. Stanton
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward
   Stafford, Ted           Analysis of impact of Delaware           $513.00     0.8    $410.40
                           supreme court decision on arbitration.
   Stafford, Ted           Meeting with P. Wang, D Heffer           $513.00     3.2   $1,641.60
                           (Foley), R. Swanson, T. Baird (WEC),
                           S. Minars, R. Strahle and S. Stanton
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward
   Stanton, Steven         Meeting with P. Wang, D Heffer           $592.00     3.2   $1,894.40
                           (Foley), R. Swanson, T. Baird (WEC),
                           S. Minars, T. Stafford and R. Strahle
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward

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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                  Rate    Hours       Fees

Litigation
07/06/2017
   Strahle, Robert          Meeting with P. Wang, D Heffer             $513.00     3.2   $1,641.60
                            (Foley), R. Swanson, T. Baird (WEC),
                            S. Minars, T. Stafford and S. Stanton
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward
07/10/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.     $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Cohen, Mark              Call with T. Baird (WEC) regarding         $592.00     0.2    $118.40
                            Marcum's work efforts on the post-
                            acquisition dispute.
   Hommen, Kelly            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.8    $378.40
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.


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                          Westinghouse Electric Company
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                     Fees Sorted by Category for the Fee Period
                                     July 01, 2017 - July 31, 2017
Date                        Description                                  Rate    Hours      Fees

Litigation
07/10/2017
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.      $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.8    $473.60
                            Stafford, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.8    $410.40
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
07/11/2017
   Cohen, Mark              Meeting with R. Swanson, D. Mura, T.       $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, S. Minars, R.
                            Strahle, T. Stafford and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Cohen, Mark              Follow up with R. Mercado (Marcum)         $592.00     0.3    $177.60
                            based on conversation with T. Baird
                            (WEC) on ongoing work efforts
                            regarding the post-acquisition dispute.
   McGonigle, David         Meeting with R. Swanson, D. Mura, T.       $473.00     0.4    $189.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and T. Stafford
                            (Deloitte) to discuss the IA process
                            going forward.


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                          Westinghouse Electric Company
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                     Fees Sorted by Category for the Fee Period
                                     July 01, 2017 - July 31, 2017
Date                        Description                                 Rate    Hours      Fees

Litigation
07/11/2017
   Minars, Scott            Meeting with R. Swanson, D. Mura, T.      $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, R.
                            Strahle, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Stafford, Ted            Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Stanton, Steven          Meeting with R. Swanson, D. Mura, T.      $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), M. Cohen, S. Minars, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss the IA process going forward.
   Strahle, Robert          Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
07/12/2017
   Cohen, Mark              Call with R. Strahle (Deloitte) to        $592.00     0.8    $473.60
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                     July 01, 2017 - July 31, 2017
Date                        Description                                 Rate    Hours      Fees

Litigation
07/12/2017
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.      $340.00     0.7    $238.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding,
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.      $473.00     0.7    $331.10
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts, and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.     $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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                          Westinghouse Electric Company
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Litigation
07/12/2017
   Stanton, Steven          Meeting with S. Minars, M. Cohen, J.       $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Strahle, Robert          Call with M. Cohen (Deloitte) to           $513.00     0.8    $410.40
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.7    $359.10
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
07/13/2017
   Letts, Joshua            Reviewed documents related to              $340.00     1.8    $612.00
                            Deloitte's analysis related to the post-
                            closing dispute prior to the bankruptcy
                            and withdrawal of independent auditor
                            for relevance ahead of meeting with
                            client and board.
   Minars, Scott            Review and assessment of draft             $592.00     0.5    $296.00
                            presentation materials for meeting with
                            WEC Board of Directors ("BOD")
                            regarding bankruptcy and ongoing
                            post-closing dispute.
   Stafford, Ted            Analysis on supreme court ruling on        $513.00     0.5    $256.50
                            disputed items.
07/14/2017
   Cohen, Mark              Conference call with P. Wang and D.        $592.00     0.2    $118.40
                            Heffer (Foley) and WEC personnel in
                            preparation for meeting in Pittsburgh
                            with Foley and WEC board regarding
                            post-acquisition dispute.


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Litigation
07/14/2017
   Cohen, Mark            Review of updated slide deck provided    $592.00     0.6    $355.20
                          by D. Heffer (Foley) to be used for
                          WEC Board meeting in Pittsburgh
                          regarding bankruptcy and ongoing
                          post-closing dispute.
07/17/2017
   Cohen, Mark            Preparation for meeting with client to   $592.00     1.0    $592.00
                          discuss bankruptcy and ongoing
                          arbitration process.
   Cohen, Mark            Meeting with S. Minars and T. Stafford   $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with S. Minars, T. Stafford      $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with Client and Board to         $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Cohen, Mark            Debrief on meeting to discuss            $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with S. Minars,T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Minars, Scott          Meeting with M. Cohen and T. Stafford    $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Minars, Scott          Meeting with M. Cohen, T. Stafford       $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.

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Litigation
07/17/2017
   Minars, Scott          Meeting with Client and Board to           $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with M. Cohen, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Minars, Scott          Debrief on meeting to discuss              $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with M. Cohen, T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with Client and Board to           $513.00     1.3    $666.90
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, M.
                          Cohen (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Stafford, Ted          Debrief on meeting to discuss              $513.00     1.4    $718.20
                          bankruptcy and ongoing arbitration
                          process with S. Minars, M. Cohen
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with S. Minars and M. Cohen        $513.00     1.2    $615.60
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Stafford, Ted          Meeting with S. Minars, M. Cohen           $513.00     2.1   $1,077.30
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
07/19/2017
   Cohen, Mark            Meeting with S. Minars, S. Stanton, T.     $592.00     0.2    $118.40
                          Stafford, D. McGonigle and J. Letts
                          (Deloitte) to discuss prior meeting with
                          client's Board and post-bankruptcy re-
                          engagement progress.



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Litigation
07/19/2017
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.2     $68.00
                            Stanton, T. Stafford and D. McGonigle
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.2     $94.60
                            Stanton, T. Stafford and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, T.      $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.2    $102.60
                            Stanton, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
07/21/2017
   Cohen, Mark              Review of proposed joint order             $592.00     0.2    $118.40
                            regarding Delaware Supreme court
                            case related to ongoing dispute.
   Stafford, Ted            Analysis of impact of proposed court       $513.00     0.3    $153.90
                            order for arbitration.
07/24/2017
   Larson, Jen              Meeting with S. Minars, T. Stafford, R.    $513.00     0.4    $205.20
                            Strahle and J. Letts (Deloitte) to
                            discuss meeting with WEC Board and
                            potential arbitration strategies going
                            forward.




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Litigation
07/24/2017
   Letts, Joshua          Meeting with S. Minars, J. Larson, T.     $340.00     0.4    $136.00
                          Stafford and R. Strahle (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
   Minars, Scott          Meeting with J. Larson, T. Stafford, R.   $592.00     0.4    $236.80
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
   Stafford, Ted          Meeting with S. Minars, J. Larson, R.     $513.00     0.4    $205.20
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
07/25/2017
   Cohen, Mark            Review of updated final order and         $592.00     0.3    $177.60
                          judgment of Delaware court regarding
                          post-acquisition dispute provided by
                          Foley.
   Stafford, Ted          Analysis of proposed court order by       $513.00     0.5    $256.50
                          Delaware Supreme court and its effect
                          on the arbitration proceeding
07/26/2017
   Cohen, Mark            Meeting with T. Stafford, J. Letts and    $592.00     0.1     $59.20
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Hommen, Kelly          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          J. Letts (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.
   Letts, Joshua          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Stafford, Ted          Meeting with M. Cohen, J. Letts and K.    $513.00     0.1     $51.30
                          Hommen (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.

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Litigation
07/28/2017
   Minars, Scott                 Review and analysis of the draft            $592.00     0.4     $236.80
                                 Proposed Joint Final Order and
                                 Judgment and comparison to the
                                 Supreme court ruling wording.
   Minars, Scott                 Composed detailed feedback for              $592.00     0.5     $296.00
                                 external counsel per external counsel's
                                 request regarding the proposed joint
                                 final order and judgement.
07/31/2017
   Letts, Joshua                 Meeting with S. Minars, R. Strahle and      $340.00     0.1      $34.00
                                 D. McGonigle (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   McGonigle, David              Analyzed the supreme court final order      $473.00     2.3    $1,087.90
                                 and judgment pertaining to the post-
                                 acquisition dispute going forward
   McGonigle, David              Reviewed the supreme court final            $473.00     0.4     $189.20
                                 order and judgment regarding the post-
                                 acquisition dispute going forward
   McGonigle, David              Meeting with S. Minars, R. Strahle and      $473.00     0.1      $47.30
                                 J. Letts (Deloitte) to discuss Wachtell's
                                 response regarding the Supreme Court
                                 ruling as well as near-term staffing
                                 needs.
   Minars, Scott                 Meeting with R. Strahle, D. McGonigle       $592.00     0.1      $59.20
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Stafford, Ted                 Discussion with D. Heffer (Foley)           $513.00     0.2     $102.60
                                 regarding court order for arbitration
   Strahle, Robert               Meeting with S. Minars, D. McGonigle        $513.00     0.1      $51.30
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Subtotal for Litigation:                                                             67.2   $36,201.30




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Non-Working Travel
07/05/2017
   Stafford, Ted              Travel from Dallas, TX to NYC, NY for     $256.50     0.5    $128.25
                              meeting with Foley and WEC
07/06/2017
   Stafford, Ted              Travel from NYC, NY to Dallas, TX for     $256.50     3.5    $897.75
                              meeting with Foley and WEC
07/16/2017
   Stafford, Ted              Non-working travel from Dallas, TX to     $256.50     2.0    $513.00
                              Cranberry, PA for Board meeting
07/17/2017
   Cohen, Mark                Non-working travel from New York to       $296.00     8.0   $2,368.00
                              Pittsburgh for Westinghouse Electric
                              Company to attend meeting with WEC
                              and counsel
   Stafford, Ted              Non-working travel from Cranberry, PA     $256.50     6.5   $1,667.25
                              to Dallas for Board meeting
   Subtotal for Non-Working Travel:                                                20.5   $5,574.25

Preparation of Fee Applications
07/12/2017
   Cooper, Carla              Review time reports for May monthly       $350.00     2.0    $700.00
                              fee statement
07/14/2017
   Cooper, Carla              Review May monthly time reports for       $350.00     2.7    $945.00
                              fee statement
07/17/2017
   McGonigle, David           Update April time reports for billing     $473.00     2.8   $1,324.40
                              preparation
   McGonigle, David           Review April time reports for monthly     $473.00     2.1    $993.30
                              fee statements
07/18/2017
   McGonigle, David           Review April time reports for monthly     $473.00     2.6   $1,229.80
                              fee statement
   McGonigle, David           Update May time reports for billing       $473.00     3.0   $1,419.00
                              preparation




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Preparation of Fee Applications
07/21/2017
   Cooper, Carla                Prepare combined monthly fee               $350.00     2.7      $945.00
                                statement for April, 2017 through June,
                                2017
07/24/2017
   Cooper, Carla                Preparation of first combined monthly      $350.00     2.0      $700.00
                                fee statement for the period April, 2017
                                through June, 2017
07/26/2017
   Cooper, Carla                Review monthly time reports for June       $350.00     3.0     $1,050.00
                                fee statement
07/27/2017
   Cooper, Carla                Review June monthly time reports for       $350.00     2.9     $1,015.00
                                fee statement
   Cooper, Carla                Review expense reports for June            $350.00     0.8      $280.00
                                monthly fee statement
07/31/2017
   McGonigle, David             Continue to update time reports for        $473.00     2.1      $993.30
                                June monthly fee statement
   McGonigle, David             Update time reports for June monthly       $473.00     3.0     $1,419.00
                                fee statement
    Subtotal for Preparation of Fee Applications:                                     31.7    $13,013.80
Total                                                                                155.7    $74,648.65




                                           Recapitulation
        Name                                                    Rate        Hours            Fees
        Cohen, Mark                                        $592.00           13.6       $8,051.20
        Donohue, Alycia                                    $592.00            1.0        $592.00
        Minars, Scott                                      $592.00           23.3      $13,793.60
        Stanton, Steven                                    $592.00           17.7      $10,478.40
        Sturiale, Lisa                                     $592.00            2.3       $1,361.60
        Larson, Jen                                        $513.00            1.9        $974.70


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                               Recapitulation
Name                                                Rate      Hours           Fees
Stafford, Ted                                  $513.00         14.1       $7,233.30
Strahle, Robert                                $513.00          6.0       $3,078.00
McGonigle, David                               $473.00         34.2      $16,176.60
Cooper, Carla                                  $350.00         16.1       $5,635.00
Hommen, Kelly                                  $340.00          0.9        $306.00
Letts, Joshua                                  $340.00          4.1       $1,394.00
Cohen, Mark                                    $296.00          8.0       $2,368.00
Stafford, Ted                                  $256.50         12.5       $3,206.25




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Category                 Date            Description                                              Amount



Airfare
                                         SOUTHWEST AIRLINES ( Roundtrip Coach class
                                         airfare for travel for Westinghouse Electric
 Stafford, Ted           07/04/2017                                                              $317.96
                                         Company for meeting with Foley and WEC from
                                         Dallas, Tx to NYC, NY)
                                         UNITED AIRLINES JACKSONVILLE Roundtrip
                                         Coach class airfare from New York to Pittsburgh
 Minars, Scott           07/10/2017                                                              $784.02
                                         for travel for Westinghouse Electric Company for
                                         Client service meeting
                                         UNITED AIRLINES JACKSONVILLE Roundtrip
                                         Coach class Coach class airfare for travel from
 Cohen, Mark             07/11/2017      New York to Pittsburgh for Westinghouse Electric        $957.90
                                         Company for travel to Pittsburgh to attend meeting
                                         with WEC and counsel
                                         UNITED AIRLINES JACKSONVILLE Change fee
                                         for Roundtrip Coach class airfare from New York
 Minars, Scott           07/11/2017      to Pittsburgh for travel for Westinghouse Electric      $247.82
                                         Company for client service meeting due to change
                                         in timing of the meeting.
                                         AMERICAN AIRLINES IN JACKSONVI Roundtrip
                                         Coach class airfare for travel from Dallas, Tx to
 Stafford, Ted           07/12/2017                                                              $232.75
                                         Pittsburgh, PA for Westinghouse Electric
                                         Company for meeting with Foley and WEC
Subtotal for Airfare:                                                                           $2,540.45


Ground Transportation
                                         LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted           07/05/2017      Electric Company from LGA to hotel for meeting           $29.00
                                         with Foley and WEC
                                         LYFT *RIDE WED 3PM Taxi for Westinghouse
 Stafford, Ted           07/05/2017      Electric Company from home to DAL for meeting            $20.18
                                         with Foley and WEC
                                         AMTRAK WASHINGTON Train Business class
 Stanton, Steven         07/05/2017                                                              $322.00
                                         ticket from BWI to NY Penn for client meeting



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Ground Transportation
                                       AMTRAK WASHINGTON Train Business class
 Stanton, Steven       07/05/2017      ticket for dispute consulting from NY Penn to BWI       $194.00
                                       for client meeting
                                       LAZ PARKING 240 NEW YORK Second parking
 Minars, Scott         07/06/2017      for Westinghouse Electric Company at Manhattan           $25.00
                                       for client meeting
                                       JTL MANAGEMENT JTL M LONG ISLA Taxi for
 Stafford, Ted         07/06/2017      Westinghouse Electric Company from meeting to            $38.47
                                       LGA for meeting with Foley and WEC
                                       LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted         07/06/2017      Electric Company from LGA to hotel for meeting            $2.00
                                       with Foley and WEC
                                       32754 - BWI RAIL STA BALTIMORE Parking for
 Stanton, Steven       07/06/2017                                                                $9.00
                                       travel for dispute consulting for client meeting
                                       LYFT *RIDE THU 7PM Taxi for Westinghouse
 Stafford, Ted         07/07/2017      Electric Company from DAL to home for                    $17.19
                                       meetingwith Foley and WEC
                                       LYFT *RIDE SUN 6PM Taxi for Westinghouse
 Stafford, Ted         07/16/2017      Electric Company from home to DAL for meeting            $18.72
                                       with Foley and WEC
                                       Auto tolls for Westinghouse Electric Company for
                                       travel to Newark airport for travel to Pittsburgh to
 Cohen, Mark           07/17/2017                                                                $8.00
                                       attend WEC board meeting and meeting with
                                       counsel and WEC personnel
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
                                       one day for travel for Westinghouse Electric
 Cohen, Mark           07/17/2017                                                               $39.00
                                       Company for travel to Pittsburgh to attend meeting
                                       with counsel and client and WEC boardmeeting
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         07/17/2017      Westinghouse Electric Company for client service         $59.69
                                       meeting
                                       ZTRIP Taxi for Westinghouse Electric Company
 Stafford, Ted         07/17/2017      from Pittsburgh airport to hotel for Board meeting       $26.40
                                       preparation with Foley and WEC




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Category                  Date            Description                                         Amount



Ground Transportation
                                          GLOBAL LIMO &TAXI S Arlington Taxi for
                                          Westinghouse Electric Company from Dallas Love
 Stafford, Ted            07/18/2017                                                           $73.02
                                          Field airport to home for Board meeting
                                          preparation with Foley and WEC
Subtotal for Ground
Transportation:                                                                               $881.67


Hotel
                                          WESTIN NY GRAND CENT NEW YORK Hotel
 Stafford, Ted            07/06/2017      stay for travel for Westinghouse Electric Company   $346.61
                                          for meeting with Foley and WEC
                                          SHERATON PITTSBURGH CORAOPLIS Hotel
 Stafford, Ted            07/16/2017      stay for travel for Westinghouse Electric Company   $125.01
                                          for meeting with Foley and WEC
Subtotal for Hotel:                                                                           $471.62


Meals
                                          LAGUARDIAAUBONPAIN72 NEW YORK Dinner
                                          during travel for Westinghouse Electric Company
 Stafford, Ted            07/05/2017                                                           $13.15
                                          for meeting with Foley and WEC ATTENDEES:
                                          Ted Stafford
                                          HYO DONG GAK 0000000 NEW YORK Dinner
 Stanton, Steven          07/06/2017      during travel for client meeting ATTENDEES:          $21.95
                                          Steven Stanton
                                          BWI TRAIN STATION #1 BALTIMORE Breakfast
 Stanton, Steven          07/06/2017      during travel for client meeting ATTENDEES:          $11.31
                                          Steven Stanton
                                          LGAAIRPORTRESTAURANT JAMAICA Dinner
                                          during travel for Westinghouse Electric Company
 Stafford, Ted            07/07/2017                                                           $34.58
                                          for meeting with Foley and WEC ATTENDEES:
                                          Ted Stafford




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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
                                       July 01, 2017 - July 31, 2017



Category                  Date            Description                                              Amount



Meals
                                          CANTINA LAREDO DLF 0 DALLAS Dinner during
                                          travel for Westinghouse Electric Company for
 Stafford, Ted            07/16/2017                                                                $22.23
                                          Board meeting preparation with Foley and WEC
                                          ATTENDEES: Ted Stafford
                                          SHERATON PITTSBURGH CORAOPLIS
                                          Breakfast for travel for Westinghouse Electric
 Stafford, Ted            07/16/2017                                                                $15.00
                                          Company for meeting with Foley and WEC
                                          ATTENDEES: Ted Stafford
                                          MARTINI BAR 0067 PITTSBURG Dinner during
                                          travel for Westinghouse Electric Company for
 Cohen, Mark              07/17/2017      travel to Pittsburgh to attend meeting with counsel,     $138.56
                                          WEC personnel and WEC board ATTENDEES:
                                          Mark Cohen,Scott Minars,Ted Stafford
                                          TGI FRIDAYS PITTSBURG Lunch during travel
                                          for Westinghouse Electric Company for client
 Minars, Scott            07/17/2017                                                                $50.00
                                          service meeting ATTENDEES: Scott Minars,Mark
                                          Cohen
                                          HUDSON NEWS ST421 00 PITTSBURG
                                          Breakfast during travel for Westinghouse Electric
 Stafford, Ted            07/17/2017                                                                 $4.98
                                          Company for Board meeting preparation with
                                          Foley and WEC ATTENDEES: Ted Stafford
                                          STARBUCKS BAG 681516 PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            07/18/2017                                                                 $8.03
                                          for client service meeting ATTENDEES: Scott
                                          Minars,Mark Cohen
Subtotal for Meals:                                                                                $319.79


Telephone, Conference
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            07/09/2017                                                                 $0.16
                                          meeting
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            07/10/2017                                                                 $1.25
                                          meeting




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                          Westinghouse Electric Company
                     Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                        July 01, 2017 - July 31, 2017



Category                   Date            Description                                           Amount



Telephone, Conference
                                           CONFERENCING 0848700 800-47506 for client
 Sturiale, Lisa            07/27/2017                                                             $1.61
                                           meeting
Subtotal for Telephone,
Conference:                                                                                       $3.02
Total                                                                                          $4,216.55




                                          Recapitulation
           Category                                                                Amount

           Airfare                                                              $2,540.45

           Ground Transportation                                                   $881.67

           Hotel                                                                   $471.62

           Meals                                                                   $319.79

           Telephone, Conference                                                       $3.02




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